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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

   MARK HALE, TODD SHADLE, and LAURIE
   LOGER, on behalf of themselves and all others
   similarly situated,                           Case No. 3:12-cv-00660-DRH-SCW

                    Plaintiffs                 Judge David R. Herndon

               v.                              Magistrate Judge Stephen C. Williams
   STATE FARM MUTUAL AUTOMOBILE
   INSURANCE COMPANY, EDWARD
   MURNANE, and WILLIAM G. SHEPHERD,

                    Defendants.

         PLAINTIFFS’ REPLY TO OBJECTOR’S FILING RE CONTEMPT SANCTION




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   I.          INTRODUCTION
               Plaintiffs respectfully submit this reply in response to Objector Lisa Marlow’s 20-page

   opposition to Plaintiffs’ motion for contempt. Exceptional circumstances—including a significant

   number of new arguments and declarations filed in opposition—justify this 10-page reply, and

   Plaintiffs therefore seek leave to file it. See S.D. Ill. L.R. 7.1(c).

               Because an objector to a class action settlement has the ability to delay implementation of a

   settlement that class members want and that the trial court has determined to be in the best interests

   of the class, the trial court, charged with ensuring the fair and orderly conduct of all proceedings

   before it and as the ultimate guardian of the class’s interests, has the authority to issue an order

   allowing class counsel to take discovery of an objector to a class action settlement. Consistent with

   that authority, the Court here properly exercised its discretion when it ordered that Class Counsel

   shall be afforded the opportunity to take the deposition of an objector on issues relating to class

   membership and motives relating to the objection. [942] ¶ 11.

               That need for a deposition is particularly apparent here, where the objector previously

   stated under oath that she did NOT have non-OEM parts installed or specified on her vehicle,

   essentially stating under oath that she is not a class member, and sought to change her answer two

   weeks after the fact. Additionally, this lone objector has staked out a position contrary to 99.9999%

   of the class after an extensive notice program, circumstances that suggest an atypical if not

   inappropriate motivation. As to motive, it is certainly legitimate to inquire why she would object to

   this Settlement when it appears that the amount she will receive under this Settlement exceeds the

   value of the repair part she claims establishes her class membership.

               Pursuant to the Court’s Preliminary Approval Order, Class Counsel sought to depose

   Ms. Marlow. Class Counsel notified Marlow’s counsel of their desire to take Marlow’s deposition

   pursuant to the Court’s Order allowing them to do so. Class Counsel provided notice of deposition

   at a location convenient to Marlow. Rather than comply with the Court’s Order, or seek relief from

   this Court, Marlow advised that she would not voluntarily appear and suggested that a subpoena




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   was necessary. When Class Counsel subpoenaed Marlow, she filed a motion to quash, and did not

   appear for her deposition, despite the existence of a valid subpoena requiring her to do so.

               This motion for an order to show cause followed. The Court previously set the show cause

   hearing for December 10, 2018. Counsel for Marlow then advised that he was unable to appear in

   person at the show cause hearing, but would not state why, other than that he was planning on

   being in Boston that day. In response, and as an apparent accommodation, the Court continued the

   show cause hearing until December 13, 2018, the date set for the final approval hearing. Again,

   consistent with its authority to efficiently run the proceedings, the Court ordered that Class
   Counsel shall have the opportunity at that time to cross examine Marlow.

               Counsel for Marlow portrays himself as a white knight seeking justice for his client and the

   Class and victimized by Class Counsel and the Court. But the reality is that Mr. Downton is

   seeking to delay a settlement that all 4.7 million Class members (except Marlow) want. Downton

   has represented Marlow for about a month, and cannot possibly have any real knowledge of the

   merits of this case. On the issue of fees, it is the trial court that is the guardian of the class’s

   interests, not Downton or Marlow, and of course the Court here is fully able to apply the pertinent

   fee factors to the facts of the case, being infinitely more familiar with both than either the objector

   or her counsel. Recognizing the vulnerability of their position, Marlow and her counsel have

   steadfastly refused to sit for a deposition in defiance of this Court’s Order.

               Instead of sitting for a deposition, Marlow has played cat and mouse, first failing to

   respond to requests for a deposition, then suggesting that a subpoena was necessary, and then, once

   served a subpoena, seeking to quash the subpoena. Clearly, Marlow and counsel Downton’s goal

   has been to delay the taking of her deposition and to run out the clock, in defiance of the Court’s

   Order. This Court has properly resisted Downton’s dilatory efforts.

               If Marlow is a Class member, then she is plainly subject to the Court’s orders. If Marlow or

   her counsel are found to be in contempt of the Court’s Order, her objection should be stricken.




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   II.         ARGUMENT

               A.     The Court Properly Exercised its Discretion and Authority.
               Provisions allowing parties to depose objectors are routine. See, e.g., Beaver v. Tarsadia

   Hotels, No. 11-cv-01842, 2017 WL 2268853, at *7 (S.D. Cal. May 24, 2017) (“the Parties may

   depose any objector”; “[f]ailure by an objector to make himself, herself, or itself available for a

   deposition or comply with expedited discovery requests may result in the Court striking the

   objection and otherwise denying that person the opportunity to be heard”); Sabol v. Hydroxatone

   LLC, No. 2:11-cv-04586, 2013 WL 12161799, at *5 (D.N.J. Mar. 28, 2013) (same); Edwards v. N.

   Am. Power & Gas, LLC, No. 3:14-cv-01714, 2018 WL 1582509, at *10 (D. Conn. Mar. 30, 2018)

   (same). Deposition discovery enables the court and the parties to determine whether an objector is

   a class member with standing to object. Carnegie v. Househld Int’l, Inc., 445 F. Supp. 2d 1032,

   1035 (N.D. Ill. 2006). Discovery is also needed to determine whether an objector objects for an

   improper purpose. See Granillo v. FCA US LLC, No. 16-cv-153, 2018 WL 4676057, at *6 (D.N.J.

   Sept. 28, 2018) (discovery provisions went to the bona fides of objectors, who “can delay the

   settlement process and, thus, ‘undermine the administration of justice.’”) (quoting In re Initial Pub.

   Offering Sec. Litig., 728 F. Supp. 2d 289, 295 (S.D.N.Y. 2010)).

               Discovery is therefore required to uncover an objector’s lack of standing and bad faith

   motives. This point is well illustrated in In re Hydroxycut Mktg. and Sales Practices Litig., Nos.

   09-md-2087, 2013 WL 5275618 (S.D. Cal. Sept. 17, 2013). There, the court ordered depositions to

   determine the standing and good faith of an objector to a proposed class settlement. Id. at *1.

   Depositions and an evidentiary hearing showed that: (1) the objector “work[ed] closely with others

   who seek to represent objectors in class action lawsuits”; (2) the objector’s lawyer demanded

   substantial monies “to make his objection go away – otherwise, he could hold the settlement

   process up for two to three years through the appeal process”; (3) the objector’s lawyer stated that

   he “didn’t care about changing one word of the settlement” and “filed the objections because it was

   a large settlement and Plaintiff’s counsel stood to make millions of dollars”; and (4) the objector’s

   lawyer intended to split fees with others once the objection was settled. Id. at *4-5. The court held



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   that the objector had not proved she was a class member and had objected “for the improper

   purpose of obtaining a cash settlement in exchange for withdrawing the objections.” Id. These

   findings would not have been possible had the court not ordered objector depositions.

               Depositions are therefore necessary so that the parties can obtain information about an

   objector’s “merits and motivations” and “their relationships with Counsel.” In re Netflix Privacy

   Litig., No. 5:11-cv-00379, 2013 WL 6173772, at *5 (N.D. Cal. Nov, 25, 2013). When objectors

   “voluntarily insert[] themselves” in class actions, their depositions “are relevant and proper.” Id.;

   see also In re Cathode Ray Tube (CRT) Antitrust Litig., 281 F.R.D. 531, 533 (N.D. Cal. 2012)
   (objector “voluntarily appeared in this litigation by objecting . . . , and is properly subject to

   discovery”). “[C]ourts commonly require objectors to make themselves available for deposition

   given the power held by objectors.” Laguna v. Coverall N. Am., Inc., 753 F.3d 918, 926 (9th Cir.

   2014). So compelling is the court’s interest in the integrity of its judgment that it may order

   discovery of an objector and his or her counsel even after a notice of appeal is filed. In re Itel Sec.

   Litig., 596 F. Supp. 226, 231-33 (N.D. Cal. 1984), aff’d, 791 F.2d 672 (9th Cir. 1986) (to preserve

   the integrity of its judgment, district court properly ordered post-judgment discovery and motion

   practice against an objector and his lawyer who tried to subvert a class settlement).

               Marlow argues that she somehow lacked notice that an objector could be subject to a

   deposition. However, the Order preliminarily approving the class action settlement made clear that

   objectors were subject to deposition discovery. All of the various forms of notice advised class

   members that all relevant Orders could be found on the settlement website. The Order granting

   preliminary settlement approval has been posted on the Hale class action website since early

   September, and the long form and short form notices advise Class members to review the website

   for more information about the case. Further, Marlow’s attorney applied for and was granted pro

   hac vice status and appeared as counsel of record on the docket, with full access to all orders that

   had been entered in the case. Downton seems to be arguing that he did not bother to read the order

   preliminarily approving the very Settlement to which his client is objecting.

               Marlow states in her papers that she “is concerned the Court has surrendered its duty as


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   guardian of absent class members . . . instead of protecting their rights.” Br. at 4. What Marlow is

   missing is that her deposition is all but mandated by the Court’s duty to protect the class. It is

   Marlow, and Marlow alone, who would thwart the will of 99.9999 percent of Class members. The

   Court properly ordered that objectors to this Settlement be cross examined.

               B.     Plaintiffs Seek Sanctions Pursuant to Marlow’s Willful Noncompliance with
                      the Court’s Preliminary Approval Order, and Not Pursuant to Rule 45.
               Rather than address the propriety of the Preliminary Approval Order, Marlow focuses her

   attention on Rule 45, and how the Magistrate Judge’s order denying the motion to quash is not a

   final order and so cannot be the basis for the issuance of sanctions. Marlow’s argument entirely

   misses the mark. This is because Plaintiffs do not seek sanctions pursuant to Marlow’s

   noncompliance with the deposition subpoena issued pursuant to Rule 45. Instead, and as Plaintiffs

   have made clear in their motion, they are seeking sanctions because Marlow did not agree to sit for

   a deposition in violation of the Order granting preliminary settlement approval.

               If Marlow thought that Order was unfair or somehow violated her rights, or that a

   deposition was not necessary, then her remedy was to bring a motion for relief before this Court.

   Instead, she tried an end-around, stating she would only sit for deposition if subpoenaed, and then,

   once subpoenaed, filing a motion to quash in the Middle District of Florida. .

               Even if Rule 45 were relevant to the show cause hearing, which it is not, Marlow

   completely ignores that she and her lawyer have taken affirmative steps, through her objection to

   the Settlement, to appear in the Southern District of Illinois. This fact readily distinguishes this

   case from all of the cases upon which she relies. Here, then, it is not surprising that the judge in the

   Middle District of Florida denied Marlow’s motion. The Magistrate Judge understood that this

   Court has authority over the litigants and attorneys who have appeared before it but who disregard

   its orders and properly issued subpoenas.

               C.     This Court Did Not Abuse its Discretion When It Granted the Request for
                      Judicial Notice.
               Marlow also argues that this Court improperly granted judicial notice of Judge Spaulding’s




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   decision to deny her motion to quash. In support of her argument, she relies on cases that address

   the proper standard of review for magistrate judge orders. See, e.g., United States v. Ecker,

   923 F.2d 7, 8-9 (1st Cir. 1991); In re Subpoena issued to Birch Commc’ns, Inc., No. 1:14-cv-3904,

   2015 WL 2091735, at *2 (N.D. Ga. May 5, 2015); Hartford Fire Ins. Co., v. Transgroup Express,

   Inc., No. 09 C 3473, 2009 WL 2916832 (N.D. Ill. Sept. 1, 2009). Yet these cases say nothing about

   the issue for which Marlow cites them—i.e., the propriety of judicial notice of an order issued by a

   magistrate judge. Marlow cites no relevant authority to support her claim that the Court acted

   improperly here when it took judicial notice of the Magistrate Judge’s December 5, 2018, ruling.

               D.     Judge Herndon, and Not Magistrate Judge Williams, Is Charged with
                      Overseeing the Fairness of this Settlement and Compliance with His Orders.
               Marlow makes other unpersuasive arguments. For example, she argues that because the

   issue of her deposition is a discovery dispute, it was incumbent on Class Counsel to seek relief

   from Magistrate Judge Williams. Again, Marlow ignores the obvious: Judge Herndon is overseeing

   this Settlement and Class Counsel’s fee request and Marlow is challenging the propriety of the

   Settlement and Class Counsel’s request for fees. Moreover, the request for sanctions arises out of

   Marlow’s unwillingness to comply with the Court’s Preliminary Approval Order. If Marlow

   wanted relief from the Preliminary Approval Order, an Order issued by Judge Herndon, then it was

   incumbent on her to seek relief from Judge Herndon. Marlow chose not to go this Court, nor to
   Magistrate Judge Williams, and instead sought to defy this Court by seeking an end-run around

   this Court’s Order by seeking relief in the Middle District of Florida. Marlow should have sought

   relief from this Court in the first instance, yet with characteristic chutzpah, Marlow criticizes Class

   Counsel for not seeking relief from Magistrate Judge Williams.

               E.     Neither Marlow’s Nor Downton’s Rights Have Been Abridged.
               Marlow cites SEC v. Hyatt, 621 F.3d 687, 696-97 (7th Cir. 2010), for the proposition that a

   nonparty subject to contempt sanctions has a right to notice and an opportunity to be heard.

   Plaintiffs agree. But Hyatt is readily distinguishable from the instant facts because the trial court in

   Hyatt did not give notice that it intended to consider imposing sanctions at a scheduled hearing. By



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   contrast, the Court here has made explicit that the contempt hearing will take place on

   December 13, 2018, at 9:00 am, and has given Marlow and Downton notice of such. See id. at 694.

   Interestingly, the Seventh Circuit in Hyatt rejected the nonparty’s argument that a subpoena is not

   itself a court order subject to contempt sanctions if disobeyed. Id. at 693. The court also held that it

   was unnecessary for the SEC to first obtain a court order compelling the nonparty’s compliance

   with its subpoenas before initiating contempt proceedings. Id. at 694.

               Marlow mis-cites numerous other cases. For example, she cites Jaffe v. Morgan Stanley &

   Co., Inc., No. C 06-3903, 2008 WL 346417, at *2 (N.D. Cal. Feb. 7, 2008), for the proposition that
   there is no absolute right to discovery in connection with the fairness of a class action settlement.

   Yet Jaffe concerned whether objectors had a right to take discovery when opposing a class action

   settlement, not whether a court could order an objector to participate in a deposition concerning its

   standing and motives, as the Court has done here. She also cites to the Manual for Complex

   Litigation (Fourth), § 21.14 (2004), for the proposition that a party seeking discovery from an

   unnamed class member must first show a particularized need and seek permission from the court.

   But that section of the MCL is about discovery from absent class members in the litigation context,

   not discovery of objectors who appear in the case once it has settled. The same is true of the cases

   Marlow cites in footnote 8 of her brief. See In re Polyurethane Foam Antitrust Litig., No. 1:10-md-

   2196, 2014 WL 764617 (N.D. Ohio Feb. 26, 2014); Garden City Employees’ Ret. Sys. v.

   Psychiatric Sols., Inc., No. 3:09-cv-00882, 2012 WL 4829802, at * 4 (M.D. Tenn. Oct. 10, 2012).

               Marlow cites Stotler & Co. v. Able, 870 F.2d 1158, 1163 (7th Cir. 1989), for the

   proposition that the party seeking contempt point to a specific command that the party in contempt

   violated. Marlow argues that while the Order granting preliminary approval granted the parties the

   right to depose class members who object, it did not specifically name Marlow or order her to give

   a deposition. Again, this argument is too clever by half. Once Marlow filed an objection she

   became subject to any orders issued in this case. Her specious argument suggests that a lawyer can

   enter litigation after the date on which the court has issued a pre-trial order and maintain that she is

   not subject to its commands because it was not specifically directed at her.


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             Perhaps most galling is her reliance on Kaufman v. Am. Express Travel Related Servs. Co.,

 877 F.3d 276 (7th Cir. 2017), which she cites for the proposition that district courts are fiduciaries

 of the class. She then says that the Court surrendered its duty as guardian of absent class members,

 whom she claims are entitled to greater protection than parties to the action. Of course, the Court’s

 fiduciary duty extends to all Class members (all 4.7 million of them), not just the one Class

 member who seeks to delay compensation to all the others. Indeed, the Seventh Circuit in Kaufman

 noted that it had “repeatedly told district courts to consider the amount of opposition to a proposed

 settlement in deciding whether to approve it.” Id. at 284. Additionally, the court remarked on the
 motives (and “chutzpah”) of objectors and their counsel who criticize a settlement, and then seek

 fees claiming “that they are solely responsible for the settlement's success.” Id. at 287, n.5.

             Marlow and her counsel made a conscious decision to disregard this Court’s Order, an

 Order about which she plainly had notice. Now they have been properly ordered to appear at a

 show cause hearing, about which they have been advised of the place and time.

             F.     Class Counsel Did Not Engage in Any Improper Conduct.
             Attorney Downton makes several allegations about the fact that several of Class Counsel

 sought to contact him after he was admitted pro hac vice in this action on behalf of his client. This

 is true and entirely proper. And what Downton does not acknowledge is that he elected not to

 respond to the voicemails and emails for at least five days, even after he filed Marlow’s objection.

 Downton also alleges that inquiry was made to mutual acquaintances to find out what it “would

 take,” presumably for Marlow to withdraw her objection. Downton singles out Gordon Ball for

 pursuing such inquiry. Mr. Ball has prepared a Declaration that accompanies this response and that

 responds to Downton’s allegations. According to Ball, he did not seek to intimidate Downton, but

 only to communicate through mutual friends or acquaintances. He states that he “made these

 efforts to reach Mr. Downton in order to have a discussion with him about the merits of the

 settlement and to address his client’s concerns about it. In none of my communications involving

 Ms. Marlow’s objection did I ever ask anyone to ‘pressure’ Mr. Downton or ascertain what Mr.




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 Downton or Mrs. Marlow ‘would take’ to drop the objection.” Ball Declaration, ¶ 6. Class

 Counsel’s efforts have been focused on understanding the nature of Marlow’s objection and trying

 to schedule the deposition expressly allowed by this Court’s Order. Downton’s claim of

 impropriety is entirely unfounded.

             G.     Striking the Objection Is an Appropriate Remedy for an Objector’s Willful
                    Misconduct.
             Courts have broad discretion to sanction objectors who do not comply with discovery

 orders. That power “is inherent in all courts” and “reaches both conduct before the court and that

 beyond the court’s confines, for ‘[t]he underlying concern that gave rise to the contempt power was

 not . . . merely the disruption of court proceedings. Rather, it was disobedience to the orders of the

 Judiciary, regardless of whether such disobedience interfered with the conduct of trial.’” Chambers

 v. NASCO, Inc., 501 U.S. 32, 44 (1991) (citation omitted) (quoting Young v. United States ex

 rel.Vuitton et Fils S.A., 481 U.S. 787, 798 (1987)); see also TFT-LCD (Flat Panel) Antitrust Litig.,

 289 F.R.D. 548, 553-54 (N.D. Cal. 2013) (holding objectors’ counsel in contempt for failure to

 produce objectors for depositions).

             Pursuant to this authority, courts can, and often do, strike objections when objectors do not

 comply with their orders. See, e.g., In re Cendant Corp. Litig., 264 F.3d 201, 252 (3d Cir. 2001)

 (affirming order striking objection and finding that courts have “broad latitude” to strike non-

 compliant objections); In re Automotive Parts Antitrust Litig., No. 12-md-02311, 2017 WL

 3499291, at 7 (E.D. Mich. July 10, 2017) (Courts have the “‘inherent authority and discretion to

 strike filings and materials that do not comply with the Court’s rules.’”) (quoting DuBose v.

 Kasich, No. 2:11-cv-00071, 2013 WL 164506, at *2 (S.D. Ohio Jan. 15, 2013)); White v. Experian

 Info. Solutions, Inc., No. 8:05-cv-01070, 2018 WL 1989514, at *8, n. 5 (C.D. Cal. Apr. 6, 2018)

 (striking objections and finding objectors without standing due to their “failure to follow the Court-

 approved procedure for filing objections”). In Embry v. ACER Am. Corp., No. C 09-01808, 2012

 WL 3777163, at *1 (N.D. Cal. Aug. 29, 2012), for example, the court overruled an objection to a

 proposed class action settlement. When the objector appealed but did not comply with an order to



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 post an appeal bond, the court ordered the objector to post bond or dismiss his appeal. Id. at *2.

 The objector did neither. The court held him in contempt for noncompliance and “impose[d] the

 sanction of striking Objector’s objection to the Final Settlement,” meaning “the Objection has no

 force or effect on the Final Settlement.” Id. Similarly, in Chambers v. Whirlpool Corp., 214 F.

 Supp. 3d 877, 890-91 (C.D Cal. 2016), the court struck objections of three objectors who refused

 to comply with class counsel’s discovery requests, and held: “[W]hen someone objects to a class

 action settlement, that person is subject to discovery related to that objection. An objector cannot

 refuse to participate in discovery and still have his or her objection considered by the court.”
             Marlow relies on Banco Del Atlantico, S.A. v. Woods Indus., 591 F.3d 350, 354 (7th Cir.

 2008), for the proposition that striking an objection is a sanction of last resort, only employed in

 rare cases. Banco actually involved dismissal of a lawsuit, a harsher sanction than striking an

 objection. Even then, Banco was such a “rare case” where such a sanction was warranted, driven

 by—as here—a party’s refusal to participate in court-ordered discovery. Notably, and apropos of

 Marlow’s argument that her offers to provide documentation satisfied her discovery obligations,

 the Banco court ruled that even when written information is provided, a party “still could be

 required to provide responsive answers to proper deposition questions,” and affirmed dismissal of

 the claim as a sanction for refusal to do so. Id.

             Thus, if this Court holds Marlow and her lawyer in contempt for their willful

 noncompliance with the Preliminary Approval Order, Plaintiffs submit that the appropriate relief is

 to strike Marlow’s objection. This appropriate remedy would not prevent the Court from

 considering the merits of Marlow’s objections, which the parties have thoroughly addressed in

 their briefs. See Chambers, 214 F. Supp. 3d at 891; Automotive Parts, 2017 WL 3499291, at *7;

 White, 2018 WL 1989514, at *8, n. 5.

 III.        CONCLUSION
             For all these reasons, Plaintiffs respectfully request that the Court conduct the currently-

 scheduled show cause hearing and, if sanctions are warranted, strike Marlow’s objection.




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 Dated: December 10, 2018          Respectfully submitted,

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                                      CERTIFICATE OF SERVICE

             Pursuant to Local Rule 7.1(b), I certify that a copy of the foregoing was served upon

 counsel via the Court’s CM/ECF system.

                                                             /s/ Robert J. Nelson




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